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                                COMMON PLEAS DIVISION

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                             March 16, 2020 04:31 PM
                                   AFTAB PUREVAL
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                              Hamilton County, Ohio
                                CONFIRMATION 930814


        NOVI DALE CARMEN                                                       A 2001283
              vs.
     HEALTH CAROUSEL LLC
       DBA PASSPORT USA


  FILING TYPE: INITIAL FILING (OUT OF COUNTY) WITH JURY
                          DEMAND
                                         PAGES FILED: 19




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                                      IN THE COURT OF COMMON PLEAS
                                          HAMILTON COUNTY, OHIO

           Novie Dale Carmen, individually and                  )
           as a representative of the Class,                    )        Case No.
           234 Sparrow Rd.                                      )
           Hummelstown, PA 17036                                )        CLASS ACTION COMPLAINT
                                                                )
                                  Plaintiff,                    )        Jury Demand Endorsed Hereon
                                                                )
           v.                                                   )
                                                                )
           Health Carousel, LLC, dba Passport USA               )
           1700 Madison Road Suite 100                          )
           Cincinnati, OH 45208                                 )
                                                                )
                                  Defendant.                    )

                  Novie Dale Carmen (“Plaintiff” or “Carmen”), by and through her attorneys and on behalf

           of herself, the Class set forth below, and in the public interest, brings this Class Action Complaint

           against Health Carousel, LLC dba Passport USA (“Defendant” or “Health Carousel”), seeking

           relief for Defendant’s violations of the Trafficking Victims Protection Act (“TVPA”), 18 U.S.C.

           § 1589 et seq., and Ohio’s human trafficking law, Ohio Rev. Code § 2905.32.

                                                   INTRODUCTION

                  1.      Defendant is a foreign labor recruiter that recruits nurses from the Philippines and

           elsewhere to work essentially as indentured servants in healthcare facilities in the United States.

           Once here, the nurses are contractually barred from leaving their employment for a period of more

           than three years. To keep its nurses working, Defendant threatens them with stiff financial

           penalties and lawsuits, and seeks to isolate them from other potential employers.

                  2.      By so doing, Defendant seeks to continue to profit from the nurses’ labor under

           Defendant’s contracts with the various healthcare facilities at which the nurses work. This lawsuit

           seeks to end Defendant’s illegal practices and to compensate the victims of those practices.




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                                             JURISDICTION AND VENUE

                  3.       This Court has subject matter jurisdiction because Ohio’s common pleas courts are

           endowed with “original jurisdiction over all justiciable matters.” Article IV, Section 4(B), Ohio

           Constitution.

                  4.       This Court has personal jurisdiction over Defendant, and venue is proper in this

           Court, because Defendant’s headquarters are in Hamilton County.

                  5.       Additionally, Defendant has contractually “consent[ed] to the exclusive jurisdiction

           and venue” in the courts of Hamilton County, Ohio.

                                                         PARTIES

                  6.       Plaintiff Novie Dale Carmen is a Registered Nurse who was formerly employed by

           Defendant. She is a citizen of the Republic of the Philippines and a legal permanent resident of the

           United States. She lives in Pennsylvania.

                  7.       Defendant is a limited liability company organized in Ohio, with its headquarters

           at 1700 Madison Road, Suite 100, Cincinnati, Ohio 45208.

                                                          FACTS

           Defendant’s Business
                  8.       Part of Defendant’s business involves recruiting trained nurses from the Philippines

           and elsewhere, bringing them to the United States, and selling their labor to healthcare facilities.

           These healthcare facilities serve the healthcare needs of their communities, but need additional

           nurses to accomplish that.

                  9.       Defendant profits, in part, by selling the nurses’ labor to the healthcare facilities for

           a higher price than the nurses’ wages. Therefore, the longer Defendant can make the nurses

           continue to work for it, the more Defendant can profit from the nurses’ labor.




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                  10.     Defendant accomplishes this with the help of a separate entity, Health Carousel

           Philippines, Inc. Health Carousel Philippines has offices in Manila and Cebu City in the

           Philippines. Health Carousel Philippines recruits nurses in the Philippines for Defendant.

                  11.     Defendant refers to its above-described business as the “Passport USA” program.

           Through the Passport USA program, Defendant enters into uniform contracts with the international

           nurses Defendant recruits.

                  12.     Under Defendant’s uniform contract, the nurses work at healthcare facilities that

           have entered agreements to pay Defendant for the nurses’ labor. Defendant characterizes some

           nurses as employees of Defendant; Defendant calls this arrangement the “Passport USA Global

           Express Program.” Defendant characterizes other nurses as direct employees of the healthcare

           facility; Defendant calls this arrangement the “Passport USA Global Direct Program.”

                  13.     The contract Defendant uses in the “Express” program is, in all relevant respects,

           identical to the contract it uses in the “Direct” program. And all nurses in Defendant’s Passport

           USA program—whether in the “Express” or the “Direct” program—are treated in the same manner

           by Defendant. There is no meaningful distinction between the programs, from the nurses’

           perspective.

                  14.     Defendant’s uniform contract selects the courts of Hamilton County, Ohio as a

           forum where disputes pertaining to the contract may be brought. And the contract states that Ohio

           law will govern.

                  15.     Defendant is a corporation registered to do business in Ohio since 2004. Defendant

           has operated and done business in Ohio under the following trade names: Tailored Healthcare

           Staffing, Global Scholarship Alliance, Theropolis Staffing Service and Passport USA. Defendant

           can be served through its Statutory Agent, Corporation Service Company, 50 West Broad Street,

           Suite 1330, Columbus, OH 43215.



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           Carmen begins working for Defendant
                    16.   Carmen is an experienced Registered Nurse. She had worked as a nurse in an

           emergency room setting for four years in the Philippines prior to immigrating to the United States.

                    17.   Carmen, like many nurses in the Philippines, wanted to come to the United States

           for a better and more prosperous life. Lured by that possibility, Carmen contacted Defendant in

           late 2014. Thereafter, Carmen joined Defendant as part of its Passport USA Global Express

           Program. On April 5 or 6, 2015, Carmen signed Defendant’s contract. (The April 2015 contract

           between Carmen and Defendant will be referred to herein as the “Carmen Contract.”)

                    18.   After Carmen received her immigrant visa and prepared to permanently relocate to

           the United States, Defendant sent Carmen to work at UPMC Muncy hospital in Muncy,

           Pennsylvania. Carmen moved to Muncy in January 2018 and began working in February 2018.

           Term of indentured servitude
                    19.   Defendant’s contract (including the Carmen Contract) requires nurses to work for

           Defendant for a term of “(i) 36 months [3 years] or (ii) 6,240 regular-time work hours,” whichever

           is longer. Until that term is satisfied, the nurses are not permitted to “pursue [their] own career

           opportunities” outside of Defendant’s organization.

                    20.   This term of indentured servitude will always be longer than three years. That is

           because 6,240 hours constitutes full-time work of 40 hours per week, for 52 weeks per year, for

           three full years. Therefore, if a nurse takes time off for any reason, or is scheduled to work less

           than 40 hours per week, the period of indentured servitude could be significantly longer than three

           years.

                    21.   Further, not all work performed under Defendant’s contract is counted toward these

           hours of indentured servitude. For example, Carmen, like many of Defendant’s nurses, worked

           significant amounts of overtime, but those overtime hours did not count toward the 6,240-hour

           requirement.

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                  22.     Additionally, the contract provides that only work performed after “orientation”

           and once the nurse is “fully licensed” will count toward these hours. For Carmen, that meant she

           had been working for Defendant for approximately seven months before her work started to count

           toward the 6,240-hour requirement.

                  23.     Defendant controlled the process of obtaining Carmen’s nursing license from

           Pennsylvania. Defendant initially obtained a temporary license for Carmen. But Defendant delayed

           applying for Carmen’s permanent nursing license until the temporary license was near its

           expiration, despite requests from Carmen to expedite the process. Defendant delayed applying for

           Carmen’s full license so that it could extract as much work as possible from Carmen that would

           not count toward her 6,240-hour requirement. Defendant similarly delayed seeking full licensure

           for other nurses, as well.

                  24.     Defendant does not explain to its nurses during the recruitment process that, for the

           reasons described above, their period of indentured servitude will last significantly longer than

           three years and 6,240 hours.

           Penalty for nurses who do not complete the term of indentured servitude
                  25.     To compel the nurses to stay for the entire term of indentured servitude,

           Defendant’s contract contains a harsh monetary penalty, which the contract calls “liquidated

           damages.” Under the provision, after a nurse’s visa is issued, the nurse must pay at least a $20,000

           penalty if they stop working for Defendant before the term of indentured servitude ends. This

           amount ranged from $20,000 for some nurses all the way to $35,000 or more for other nurses. The

           amount of the nurses’ penalty is easily determinable from the contract.

                  26.     The contract does not allow the penalty amount to be prorated to account for how

           long the nurse has been working under contract with Defendant. Therefore, the contract requires a

           nurse that has worked for Defendant for two-and-a-half years, for example, to pay the entire



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           penalty if she stops working for Defendant. Even where contractual penalties allow for proration,

           they may still run afoul of the TVPA. See United States ex rel. Hawkins v. ManTech Int'l Corp.,

           No. CV 15-2105 (ABJ), 2020 WL 435490, at *18 (D.D.C. Jan. 28, 2020) (denying defendant’s

           motion to dismiss TVPA claim where contract required repayment of prorated costs of training

           and certification); Paguirigan v. Prompt Nursing Employment Agency LLC, No. 17-CV-1302-NG-

           JO, 2019 WL 4647648 (E.D.N.Y. Sept. 24, 2019) (granting plaintiff’s motion for summary

           judgment on her TVPA claim and enjoining defendant from enforcing its contractual penalty,

           where penalty was prorated).

                   27.     The contract threatens that the penalty will be “due immediately and in full on or

           before the last day” worked. (Emphasis in original.) The contract emphasizes that “[t]here will

           not be any payment plans or partial payment options.”

                   28.     Defendant’s contract is very clear that if it does not receive this money, “Health

           Carousel will prepare to immediately file a lawsuit for the full damages failure to comply with the

           terms and conditions of the Agreement causes Health Carousel. Be advised that if you leave the

           country, Health Carousel can still obtain a judgment that will be enforceable abroad.” (Emphasis

           in original.)

                   29.     True to its threats, Defendant has sued nurses who left before their terms of

           indentured servitude ended. For example, Defendant recently sought judgment against its former

           nurse employee in the amount of $77,435, plus interest and costs. Health Carousel, LLC v. Agang,

           No. 1:19-cv-00102 (S.D. Ohio filed Feb. 8, 2019). Defendant has also sued other nurses who left

           before the end of their term of indentured servitude.

                   30.     The penalty provision in Defendants’ contract is not a valid liquidated damages

           provision under Ohio law, and it is unenforceable. The penalty provision is not designed to

           estimate Defendant’s actual damages, which would not be difficult to determine. Instead, it



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           imposes a lump-sum penalty, which will be the same if the nurse quits on the first day of work as

           it will be if the nurse quits after completing 6,239 hours of work.

                   31.     Further, Defendant has increased the amount of the penalty from $20,000 to

           $35,000 over the course of two years. It is inconceivable these figures are a reasonable estimate of

           Defendant’s damages when the amount has increased so quickly. Rather, Defendant seems to be

           increasing the amount of the penalty in order to exert still greater force to keep nurses working for

           it. Defendant’s damages, if any, would be much lower than either of these penalty amounts. See

           Paguirigan, 2019 WL 4647648, at *11 (finding, in TVPA case brought by a nurse recruited from

           the Philippines, that defendants had shown damages caused by the nurse leaving employment early

           of less than $5,000, and finding unenforceable defendants’ $25,000-penalty provision).

                   32.     If Defendant suffered any damages from a nurse leaving before completing the

           period of involuntary servitude, those damages would be easily calculable. See id. (finding penalty

           provision unenforceable, in part because the amount of the defendants’ damages was ascertainable

           at the time of contract).

                   33.     In Health Carousel, LLC v. Agang, No. 1:19-cv-00102 (S.D. Ohio filed Feb. 8,

           2019), Health Carousel sought default judgement against an early-departing nurse. It submitted an

           affidavit purporting to state a simple calculation for determining Health Carousel’s damages

           caused by a nurse leaving employment early. When the Agang court denied Health Carousel’s

           motion for default judgment and requested an affidavit with more detail of its purported damages,

           Health Carousel voluntarily dismissed the case to avoid submitting the requested affidavit. This

           demonstrates that Defendant considers its purported damages from early-departing nurses to be

           easy to calculate. It also demonstrates that those damages likely come nowhere near the $77,435

           Defendant requested in the Agang case.




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                  34.     Carmen and the other Health Carousel nurses she worked with knew that Defendant

           had sued other nurses that left Defendant before completing their terms of indentured servitude.

                  35.     Carmen and Class members continued to work for Defendant for longer than they

           wanted because of the monetary penalty, because of threats that the penalty would be strictly and

           immediately enforced, and because they knew Defendant had sued other nurses.

           Defendant isolates its nurses from other potential employers
                  36.     The nurses’ ability to leave is further restricted by the contract’s non-compete

           provision. Under that provision, nurses are prohibited from working for Health Carousel’s clients,

           or any other healthcare facility within 50 miles, for one year.

                  37.     Defendant’s nurses have all recently arrived in the United States from abroad, and

           are unlikely to have professional connections in this country other than in the healthcare facility at

           which they are placed by Defendant. As such, a nurse who is prohibited from seeking employment

           with the healthcare facility that she’s been working in, and from seeking employment anywhere in

           the town she’s been working in, will likely have difficulty finding employment anywhere in the

           country.

                  38.     Defendant’s nurses know that if they leave Defendant’s employment early, not only

           will they be immediately liable for the liquidated damages, but they will also have difficulty

           finding any work in their field for an entire year.

                  39.     Additionally, the contract’s non-compete provision is unenforceable under Ohio

           law because, for the reasons stated above, it imposes an undue hardship on Defendant’s former

           employees.

                  40.     The non-compete provision hindered Carmen’s ability to stop working for

           Defendant. Carmen believes she could have gotten a job directly with UPMC Muncy, where she

           had been working under contract with Defendant. She also could have worked as a full-time nurse



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           for another healthcare facility approximately 30 miles from UPMC Muncy. But she was unable to

           pursue either employment opportunity because of the non-compete provision. And in phone calls

           with her contact in Defendant’s organization, Defendant made a point to remind Carmen about the

           non-compete provision.

           Defendant isolates the nurses in other ways
                  41.     Defendant’s contract also restricts and isolates its nurses in other ways. For

           example, the contract contains a “no gossip” policy: “Gossip is strictly forbidden. Gossip is defined

           as rumor or talk of a personal, intimate, and often sensational nature. Gossip is rarely positive in

           nature, and is usually harmful.”

                  42.     The contract gets more specific about the types of information Defendant does not

           wish its employees to discuss: “Confidential information includes personal information or

           relationships, salary information, or any information concerning a co-worker’s relationship with

           Health Carousel. Discussing what you or a co-worker earns is considered indiscreet because salary

           is a personal matter.”

                  43.     Similarly, the contract states that: “The terms and conditions of your employment

           are confidential and should not be shared with anyone except an authorized Health Carousel

           Representative. Any issues regarding our relationship are to be confidentially kept between us.”

                  44.     Defendant carefully enforced these secrecy provisions. Carmen observed that when

           she discussed the contract with Defendant, Defendant would reiterate that Carmen was not

           permitted to talk about it with anybody, even with her fellow Health Carousel nurses.

                  45.     These secrecy provisions hinder the nurses’ ability to pursue their careers outside

           of Defendant’s organization. For example, nurses that want to (and can afford to) leave Defendant

           are unable to discuss their planned departure with supervisors at their healthcare facility. From the

           perspective of the healthcare facility, a departing nurse would just be replaced one day with a



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           different nurse. That makes it difficult for a departing nurse to obtain a positive reference from the

           healthcare facility without breaching Defendant’s contract. And the contract stresses the point: “In

           America, a bad reference can follow you and can inhibit Health Carousel’s ability to find a new

           client assignment for your [sic] and even to continue your employment.”

                  46.      These secrecy provisions have the effect of further isolating the nurses and

           shielding from scrutiny Defendant’s business practices.

           Other draconian terms in Defendant’s contract
                  47.      The contract contains various other draconian terms, as well. For example, the

           contract states that if a nurse is terminated from employment, she will be forced to vacate her home

           if housing has been provided by Defendant. The nurse must vacate within 48 hours after the earlier

           of the termination or her last shift worked. This provision, of course, further restricts nurses from

           leaving Defendant: They may be homeless two days after leaving.

                  48.      Additionally, the contract requires nurses, “[a]s a condition of . . . participation in

           the Passport USA Program,” to take courses in “acculturation/acclimation.” Though these courses

           are mandatory, the contract states that nurses “are not entitled to compensation” for their time

           taking them.

                  49.      Finally, Defendant implies that if a nurse is terminated, she will suffer adverse

           immigration consequences. For example, the contract states that “[a]s long as you remain in good

           standing with Health Carousel, we will continue to be your advocate for immigration purposes,”

           implying that failure to remain “in good standing” may result in negative immigration

           consequences.

                  50.      And the contract states that if a nurse is terminated from employment, she will be

           given a one-way plane ticket back to her home country. That provision led Carmen and other




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           nurses to believe they may be made to leave the United States if they left Defendant before the

           period of involuntary servitude ended.

           Carmen leaves her employment with Defendant
                  51.     Not long after starting employment with Defendant and well before her term of

           indentured servitude was over, Carmen desired to stop working for Defendant.

                  52.     First, Carmen and the other nurses working for Defendant were underpaid, earning

           substantially less than nurses working in the same facility but not for Defendant.

                  53.     Additionally, Carmen and the other nurses working for Defendant were

           overworked. After working a scheduled 12-hour shift, the nurses would regularly be asked to stay

           on and work for an additional four hours due to understaffing.

                  54.     Also due to this understaffing, Carmen and the other nurses working for Defendant

           were required to be responsible for too many patients. The low nurse-to-patient ratio was

           dangerous for both the nurses and their patients.

                  55.     Despite her desire to leave Defendant, Carmen nevertheless had to continue

           working for Defendant for all of the reasons discussed above. Carmen’s inability to leave

           Defendant caused her substantial distress.

                  56.     Eventually, however, after nearly two years of working for Defendant, Carmen was

           able to come up with the money to pay Defendant’s penalty. In November 2019, Carmen was able

           to borrow $20,000 from her boyfriend to pay Defendant’s penalty and leave Defendant.

                  57.     Coming up with the money to pay Defendant’s penalty caused Carmen substantial

           hardship and distress. Defendant paid her too little for her to be able to save up the penalty amount

           from her wages. And Carmen could not borrow such a large sum from any of her family in the

           Philippines.




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                  58.     With no other option, Carmen borrowed the money from her boyfriend. Carmen’s

           boyfriend had been saving up to make a down payment on a home. But because Carmen was

           desperate to leave Defendant, he loaned her the money to pay Defendant’s penalty instead of using

           it as a down payment. They have not been able to again save up enough for a down payment, and

           they continue to rent housing.

                  59.     Carmen continues to suffer stress, anxiety, guilt, and depression as a result of owing

           this debt to her boyfriend.

                  60.     Carmen’s penalty amount was not prorated, despite the fact that she had completed

           well over a year of her involuntary servitude period.

                  61.     After paying Defendant’s penalty, Carmen moved to Hershey, Pennsylvania.

           There, she found a nursing job earning more than she had been earning with Defendant.

                  62.     Other nurses have been able to come up with the money necessary to pay

           Defendant’s penalty and leave before the expiration of their terms of involuntary servitude, though

           at significant personal hardship.

                  63.     At least twenty nurses in Pennsylvania alone have paid Defendant’s penalty in order

           to leave Defendant. The number of nurses nationwide who have paid Defendant’s penalty is likely

           much greater. Many of those have had to get bank loans in order to pay Defendant’s penalty.

           Others have left but have been unable to come up with the money to pay the penalty, and have

           been sued by Defendant.

                                            CLASS ACTION ALLEGATIONS

                  64.     Plaintiff brings this action as a class action pursuant to Rule 23 of the Ohio Rules

           of Civil Procedure.

                  65.     Plaintiff asserts her claims on behalf of the Class defined as follows:




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                  All nurses that entered the United States through Defendant’s Passport USA
                  program and paid a financial penalty within the ten years prior to the filing of this
                  action in order to be released from their employment with or through Defendant.

                  66.     Numerosity: The Class is so numerous that joinder of all class members is

           impracticable. Defendant’s social media posts indicate that it brings hundreds of nurses per year

           into the United States through its Passport USA program. Further, at least twenty nurses in

           Pennsylvania alone have paid Defendant’s financial penalty in the past few years. Although the

           precise number of putative Class members is currently unknown, Plaintiff believes that the Class

           includes over forty members. These members can be identified based on Defendant’s records.

                  67.     Commonality: Common questions of law and fact exist as to all members of the

           Class and predominate over any questions solely affecting individual members, including but not

           limited to:

                          a) Whether Defendant obtains the labor of foreign nurses by using serious harm

                              or threats of serious harm in violation of the TVPA;

                          b) Whether Defendant knowingly recruits nurses and knowingly benefits by its

                              violations of the TVPA and Ohio trafficking law;

                          c) The proper measure of damages; and

                          d) The proper measure of punitive damages.

                  68.     Typicality: Plaintiff’s claims are typical of the members of the Class. Defendant

           uses a uniform contract in its Passport USA program, and the Carmen Contract, as one of those

           uniform contracts, is typical of the Class’s contracts. Further, Defendant treated Plaintiff consistent

           with other class members, in accordance with its standard policies and practices.

                  69.     Adequacy: Plaintiff will fairly and adequately protect the interests of the Class.

           Plaintiff is committed to the prosecution of this action and has retained counsel that numerous




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           courts have found sufficiently experienced in class actions to be appointed as class counsel. There

           are no conflicts between Plaintiff and the Class she seeks to represent.

                  70.     Class certification is appropriate under Ohio Civ. R. 23(B)(3) because questions of

           law and fact common to the Class predominate over any questions affecting only individual

           members of the Class, and because a class action is superior to other available methods for the fair

           and efficient adjudication of this litigation. Defendant uses a uniform contract and uniform policies

           and practices, resulting in common violations of law. Class certification also will obviate the need

           for unduly duplicative litigation that might result in inconsistent judgments concerning

           Defendant’s practices. Moreover, management of this action as a class action will not likely

           present any difficulties. In the interests of justice and judicial efficiency, it would be desirable to

           concentrate the litigation of all class members’ claims in a single forum, and Defendant’s contract

           selects this forum for resolving disputes.

                  71.     Plaintiff intends to send notice to all members of the Class to the extent required by

           Ohio Civ. R. 23(C)(2). The names and addresses of the class members are available from

           Defendant’s records.

                                                        COUNT I
                             Violation of the Trafficking Victims Protection Act (TVPA)
                                                 18 U.S.C. § 1589(a)
                                        (On behalf of Carmen and the Class)
                  72.     Plaintiff incorporates the above allegations by this reference.

                  73.     It is a violation of the TVPA to “knowingly provide[] or obtain[] the labor or

           services of a person . . . (2) by means of serious harm or threats of serious harm . . . ; (3) by means

           of the abuse or threatened abuse of law or legal process; or (4) by means of any scheme, plan, or

           pattern intended to cause the person to believe that, if that person did not perform such labor or

           services, that person or another person would suffer serious harm . . . .” 18 U.S.C. § 1589(a).




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                   74.     The TVPA defines “serious harm” to include nonphysical harm, “including

           psychological, financial, or reputational harm, that is sufficiently serious . . . to compel a

           reasonable person of the same background and in the same circumstances to perform or to continue

           performing labor or services in order to avoid incurring that harm.” Id. § 1589(c)(2).

                   75.     Defendant obtained the labor of Carmen and the Class members through threats of

           serious harm, through a scheme to make Carmen and the Class believe they would suffer serious

           harm, and through threatened abuse of legal process, through the terms and administration of its

           contract with the nurses.

                   76.     Defendant kept Carmen and the Class working for it against their wills with the

           contract’s term of indentured servitude, with an unenforceable monetary penalty masquerading as

           liquidated damages, with threats of litigation, with contractual provisions that caused the nurses to

           fear deportation, and with the other isolating and otherwise draconian terms of the contract, as

           described herein.

                   77.     Defendant’s use of such means to obtain the labor of Carmen and the Class was

           knowing and intentional.

                   78.     Carmen and the Class suffered damages as a result of Defendant’s conduct. Those

           damages include the penalty Carmen and the Class paid to Defendant, as well as emotional distress

           and other damages.

                   79.     Carmen and the Class are entitled to compensatory and punitive damages and

           restitution in amounts to be determined at trial, together with reasonable attorneys’ fees and the

           costs of this action.

                                                       COUNT II
                               Violation of the Trafficking Victims Protection Act (TVPA)
                                                   18 U.S.C. § 1589(b)
                                          (On behalf of Carmen and the Class)
                   80.     Plaintiff incorporates the above allegations by this reference.

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                   81.     It is a violation of the TVPA to “knowingly benefit” from participation in a venture

           which obtains labor in violation of the TVPA, while “knowing or in reckless disregard of the fact”

           that the venture has obtained labor through such means. 18 U.S.C. § 1589(b).

                   82.     Defendant has knowingly benefited from its participation in the forced labor

           venture described herein by earning substantial profits from the venture.

                   83.     Defendant knew or recklessly disregarded the fact that the venture described herein

           engaged in obtaining forced labor.

                   84.     Carmen and the Class suffered damages as a result of Defendant’s conduct. Those

           damages include the penalty Carmen and the Class paid to Defendant, as well as emotional distress

           and other damages.

                   85.     Carmen and the Class are entitled to compensatory and punitive damages and

           restitution in amounts to be determined at trial, together with reasonable attorneys’ fees and the

           costs of this action.

                                                       COUNT III
                             Violation of the Trafficking Victims Protection Act (TVPA)
                                                 18 U.S.C. § 1590(a)
                                        (On behalf of Carmen and the Class)
                   86.     Plaintiff incorporates the above allegations by this reference.

                   87.     It is a violation of the TVPA to “knowingly recruit[], . . . or obtain[] by any means,

           any person for labor or services in violation of” the TVPA.

                   88.     Defendant knowingly recruited Carmen and Class members in violation of the

           TVPA through the means described herein.

                   89.     Carmen and the Class suffered damages as a result of Defendant’s conduct. Those

           damages include the penalty Carmen and the Class paid to Defendant, as well as emotional distress

           and other damages.




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                   90.     Carmen and the Class are entitled to compensatory and punitive damages and

           restitution in amounts to be determined at trial, together with reasonable attorneys’ fees and the

           costs of this action.

                                                       COUNT IV
                             Violation of the Trafficking Victims Protection Act (TVPA)
                                                 18 U.S.C. § 1594(a)
                                        (On behalf of Carmen and the Class)

                   91.     Plaintiff incorporates the above allegations by this reference.

                   92.     Attempts to violate the TVPA are themselves violations of the TVPA. 18 U.S.C. §

           1594(a).

                   93.     Defendant attempted to violate 18 U.S.C. §§ 1589 and 1590, as described herein.

                   94.     Carmen and the Class suffered damages as a result of Defendant’s conduct. Those

           damages include the penalty Carmen and the Class paid to Defendant, as well as emotional distress

           and other damages.

                   95.     Carmen and the Class are entitled to compensatory and punitive damages and

           restitution in amounts to be determined at trial, together with reasonable attorneys’ fees and the

           costs of this action.

                                                        COUNT V
                                      Violation of Ohio’s human trafficking law
                                              Ohio Rev. Code § 2905.32
                                        (On behalf of Carmen and the Class)

                   96.     Plaintiff incorporates the above allegations by this reference.

                   97.     It is a violation of Ohio’s human trafficking law to “knowingly recruit . . . or

           knowingly attempt to recruit . . . another person if . . . [t]he offender knows that the other person

           will be subjected to involuntary servitude.” Ohio Rev. Code § 2905.32(A)(1). Victims of a

           violation may bring a civil claim against the trafficker. Ohio Rev. Code § 2307.51.




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                     98.    Defendant knowingly recruited Carmen and Class members knowing that they

           would be subjected to involuntary servitude, in violation of Section 2905.32, as described herein.

                     99.    Carmen and the Class suffered damages as a result of Defendant’s conduct. Those

           damages include the penalty Carmen and the Class paid to Defendant, as well as emotional distress

           and other damages.

                     100.   Carmen and the Class are entitled to compensatory and punitive damages in

           amounts to be determined at trial, together with reasonable attorneys’ fees and the costs of this

           action.

                                                  PRAYER FOR RELIEF

                     101.   WHEREFORE, Plaintiff, on behalf of herself and the Class, prays for relief as

           follows:

                            a) determining that this action may proceed as a class action under Ohio Civ. R.

                               23(B)(3);

                            b) designating Plaintiff as representative for the Class and designating Plaintiff’s

                               counsel as counsel for the Class;

                            c) issuing proper notice to the Class at Defendant’s expense;

                            d) declaring that Defendant committed violations of the TVPA and Ohio’s human

                               trafficking law;

                            e) awarding damages as provided by the TVPA and Ohio’s human trafficking law,

                               including punitive damages;

                            f) awarding reasonable attorneys’ fees and costs as provided by law; and

                            g) granting further relief, in law or equity, as this Court may deem appropriate and

                               just.




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                                                                 DEMAND FOR A JURY TRIAL

                                      102.       Plaintiff, pursuant to Ohio Civ. R. 38(B), demands a trial by jury.

                                                                               Respectfully submitted,

                                   Dated: March 16, 2020                       BARKAN MEIZLISH DEROSE
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